USCA11 Case: 22-12796   Document: 33     Date Filed: 11/23/2022   Page: 1 of 36


                             No. 22-12796-A

                 UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT


                            RICHARD VALLE,

                                                  Plaintiff-Appellee,
                                    v.

                             3M COMPANY,

                                                  Defendant-Appellant,
                     AEARO TECHNOLOGIES LLC, et al.,
                                                  Defendants.


                On Appeal from the United States District
                Court for the Northern District of Florida,
                           MDL No. 19-02885


                    REPLY BRIEF FOR APPELLANT


                                         PAUL D. CLEMENT
                                          Counsel of Record
                                         ERIN E. MURPHY
                                         CLEMENT & MURPHY, PLLC
                                         706 Duke Street
                                         Alexandria, VA 22314
                                         (202) 742-8900
                                         paul.clement@clementmurphy.com
                                         Counsel for Defendant-
                                         Appellant 3M Company
November 23, 2022
 USCA11 Case: 22-12796       Document: 33     Date Filed: 11/23/2022   Page: 2 of 36
No. 22-12796-A, Valle v. 3M Co.

               CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

      Pursuant to Eleventh Circuit Rule 26.1-1-2, counsel for Defendant-Appellant

3M Company hereby certifies that the Certificate in the opening brief, as

supplemented by the Certificate in the response brief, is complete and correct, with

the addition of the following:

      • Hicks, George – counsel for Defendants/non-Appellants

      • Steinberg, Matthew P. – counsel for Defendants/non-Appellants

      • Zanello, Lindsay N. – counsel for Defendants/non-Appellants

      Defendant-Appellant 3M Company states that it is a corporation whose shares

are publicly traded (NYSE: MMM).            3M Company does not have a parent

corporation and no publicly held corporation owns 10% or more of 3M’s stock.

                                       Respectfully submitted,
                                       s/Paul D. Clement
                                       PAUL D. CLEMENT
                                       Counsel for Defendant-Appellant
                                       3M Company
November 23, 2022




                                    CIP-1 of 1
 USCA11 Case: 22-12796                    Document: 33             Date Filed: 11/23/2022               Page: 3 of 36



                                          TABLE OF CONTENTS

CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
    DISCLOSURE STATEMENT......................................................... CIP-1 of 1

TABLE OF AUTHORITIES ..................................................................................... ii

INTRODUCTION .................................................................................................... 1

ARGUMENT ............................................................................................................ 3

I.       The Bankruptcy Court Provides An Adequate Remedy At Law .................... 3
II.      The Injunction Invades The Bankruptcy Court’s Exclusive
         Jurisdiction ...................................................................................................... 9

III.     The Injunction Violates 3M’s Constitutional Rights .................................... 14

IV.      The Injunction Violates The Automatic Stay ............................................... 18
V.       The Injunction Violates Federal Rules of Civil Procedure 52
         and 65............................................................................................................ 20

VI.      Equitable Considerations Do Not Support The Injunction .......................... 25

CONCLUSION ....................................................................................................... 27

CERTIFICATE OF COMPLIANCE
CERTIFICATE OF SERVICE




                                                              i
 USCA11 Case: 22-12796                  Document: 33           Date Filed: 11/23/2022              Page: 4 of 36



                                     TABLE OF AUTHORITIES*

Cases
*Alabama v. U.S. Army Corps of Engineers,
   424 F.3d 1117 (11th Cir. 2005) ................................................................ 4, 5, 7, 8

Battle v. Liberty Nat. Life Ins. Co.,
   877 F.2d 877 (11th Cir. 1989) .............................................................................17
BE & K Const. Co. v. N.L.R.B.,
  536 U.S. 516 (2002) ............................................................................................14

Beacon Theatres, Inc. v. Westover,
  359 U.S. 500 (1959) ..............................................................................................3

Bonner v. City of Prichard,
  661 F.2d 1206 (11th Cir. 1981) ...........................................................................21
Borough of Duryea v. Guarnieri,
  564 U.S. 379 (2011) ............................................................................................15
Bravo v. United States,
   532 F.3d 1154 (11th Cir. 2008) .............................................................................5
Ca. Div. of Lab. Standards Enforcement v. Dillingham Constr., N.A., Inc.,
  519 U.S. 316 (1997) ............................................................................................23
Clinton v. Goldsmith,
   526 U.S. 52 (1999) ................................................................................................3
Corp. Synergies Grp., LLC v. Andrews,
  775 F. App’x 54 (3d Cir. 2019) ...........................................................................15
Cromer v. Kraft Foods N. Am., Inc.,
   390 F.3d 812 (4th Cir. 2004) ...............................................................................14
Devlin v. Scardelletti,
  536 U.S. 1 (2002) ................................................................................................17



    *
        Citations upon which Appellant primarily relies are marked with asterisks.
                                                          ii
 USCA11 Case: 22-12796                  Document: 33            Date Filed: 11/23/2022            Page: 5 of 36



F.T.C. v. Trudeau,
   579 F.3d 754 (7th Cir. 2009) ...............................................................................15

Fla. Med. Ass’n, Inc. v. U. S. Dep’t of Health, Ed. & Welfare,
   601 F.2d 199 (5th Cir. 1979) ...............................................................................21

Gilchrist v. Gen. Elec. Cap. Corp.,
   262 F.3d 295 (4th Cir. 2001) ...............................................................................20

Harrelson v. United States,
  613 F.2d 114 (5th Cir. 1980) .................................................................................4

In re Baldwin-United Corp. (Single Premium Deferred Annuities Ins. Litig.),
    770 F.2d 328 (2d Cir. 1985) ................................................................................12

In re Managed Care Litig.,
    236 F. Supp. 2d 1336 (S.D. Fla. 2002) .................................................................9
In re March,
    988 F.2d 498 (4th Cir. 1993) ...............................................................................11
In re Nat’l Century Fin. Enters., Inc.,
    423 F.3d 567 (6th Cir. 2005) ...............................................................................20
In re Windstream Holdings, Inc.,
    627 B.R. 32 (Bankr. S.D.N.Y. 2021) ..................................................................18
Int’l Longshoremen’s Ass’n, Loc. 1291 v. Philadelphia Marine Trade Ass’n,
    389 U.S. 64 (1967) ..............................................................................................22
Kelly v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
   985 F.2d 1067 (11th Cir. 1993) .............................................................................6

Kentucky Fried Chicken Corp. v. Diversified Packaging Corp.,
  552 F.2d 601 (5th Cir. 1977) .............................................................................7, 8
*Klay v. United Healthgroup, Inc.,
  376 F.3d 1092 (11th Cir. 2004) .................................................................. 3, 6, 21
Liles v. Del Campo,
   350 F.3d 742 (8th Cir. 2003) .................................................................................9



                                                          iii
 USCA11 Case: 22-12796                  Document: 33           Date Filed: 11/23/2022              Page: 6 of 36



Lozman v. City of Riviera Beach,
   138 S.Ct. 1945 (2018) .........................................................................................18

Matter of Mahurkar Double Lumen Hemodialysis Catheter Pat. Litig.,
  140 B.R. 969 (N.D. Ill. 1992) .............................................................................11

NetChoice, LLC v. Att’y Gen., Fla.,
   34 F.4th 1196 (11th Cir. 2022) ............................................................................26

Pa. Bureau of Corr. v. U.S. Marshals Serv.,
   474 U.S. 34 (1985) ................................................................................................9

Riccard v. Prudential Insurance Co.,
   307 F.3d 1277 (11th Cir. 2002) ...........................................................................17

*Rohe v. Wells Fargo Bank, N.A.,
  988 F.3d 125 (11th Cir. 2021) ................................................................ 3, 6, 9, 13
Rosen v. Cascade Int’l, Inc.,
  21 F.3d 1520 (11th Cir. 1994) ...............................................................................3
S.E.C. v. Brennan,
   230 F.3d 65 (2d Cir. 2000) ..................................................................................20
Scardelletti v. Debarr,
   265 F.3d 195 (4th Cir. 2001) ........................................................................ 17, 21
Schmidt v. Lessard,
   414 U.S. 473 (1974) ............................................................................................22
Smith v. Bayer Corp.,
  564 U.S. 299 (2011) ........................................................................................3, 13

Tennessee Student Assistance Corp. v. Hood,
   541 U.S. 440 (2004) ............................................................................................12
United States v. Int’l Brotherhood of Teamsters,
  266 F.3d 45 (2d Cir. 2001) ..................................................................................14
Universal Amusement Co. v. Vance,
  587 F.2d 159 (5th Cir. 1978) ...............................................................................14



                                                          iv
 USCA11 Case: 22-12796                   Document: 33           Date Filed: 11/23/2022              Page: 7 of 36



W. Water Mgmt., Inc. v. Brown,
   40 F.3d 105 (5th Cir. 1994) .................................................................................15

Weaver v. Fla. Power & Light Co.,
  172 F.3d 771 (11th Cir. 1999) ...........................................................................5, 6

Wood v. Santa Barbara Chamber of Com., Inc.,
  705 F.2d 1515 (9th Cir. 1983) ...................................................................... 23, 24

Statutes

11 U.S.C. §1109 .......................................................................................................10

28 U.S.C. §1334 .......................................................................................................10
Rule

Fed. R. Civ. P. 65 .............................................................................................. 21, 22
Other Authorities

Dkt.14, Aearo Techs. LLC, et al v. Those Parties Listed on Appendix A to the
  Complaint, et al, No. 22-2606 (7th Cir. Oct. 12, 2022)......................................13
Charles A. Wright & Arthur R. Miller, 11A Fed. Prac. & Proc. Civ. (3d ed.) ....4, 22




                                                           v
 USCA11 Case: 22-12796       Document: 33     Date Filed: 11/23/2022    Page: 8 of 36



                                 INTRODUCTION

      The MDL court’s sweeping injunction, stayed in part by the MDL court itself

and by this Court in full, should be vacated in full. In response to Aearo’s bankruptcy

filing, the MDL court injected itself into those ongoing bankruptcy proceedings by

enjoining 3M both from “attempting to relitigate the same issues or related issues

precluded by the principles of res judicata or collateral estoppel in bankruptcy court”

and “from supporting, directly or indirectly, financially or otherwise, any collateral

attack on this court’s orders by any other parties in any other forum, including

Aearo.” MDL.Dkt.3389 at 7, 8. The MDL court itself stayed (but did not vacate)

the latter half of that prohibition after acknowledging that it “may in fact interfere

with Aearo’s ability to act in the bankruptcy.” MDL.Dkt.3407 at 2-3. And this Court

then stayed the balance of the extraordinary injunction, despite the MDL court’s

stated view that doing so “would completely undermine the basis of the injunction,”

id. at 4. See 10/12/22 Order.

      Tellingly, Valle’s merits brief makes no mention of either the MDL court’s

partial confession of error or this Court’s full stay. Nor does Valle make any serious

effort to defend the MDL court’s admitted interference with Debtors’ ability to

pursue their reorganization. Instead, Valle spends the bulk of his brief trying to

portray the MDL court’s unprecedented intrusion on the bankruptcy court’s power

to police its own proceedings as a run-of-the-mill “antisuit injunction,” and goes



                                          1
 USCA11 Case: 22-12796        Document: 33     Date Filed: 11/23/2022    Page: 9 of 36



even further in arguing that the order is somehow exempted from the substantive and

procedural requirements governing injunctive relief. That effort fails at every turn.

First, there is nothing run-of-the-mill about the order here, even in the extraordinary

realm of antisuit injunctions. The MDL court has prohibited 3M from “attempting

to relitigate” not just the same issues, but “related issues,” and even “supporting,

directly or indirectly, financially or otherwise, any collateral attack on this court’s

orders by any other parties in any other forum.” MDL.Dkt.3389 at 8 (emphasis

added). And all of that in response to proceedings that were initiated by Debtors,

not 3M, and that Valle himself agrees can legitimately go forward.

      Equally important, “antisuit injunctions” are extraordinary because they work

an extraordinary intrusion on another court’s ability to control its own jurisdiction,

not because they are immune from all the ordinary limits on injunctive relief. The

intrusive nature of antisuit injunctions makes the rigorous application of the ordinary

constraints all the more important to ensure that such injunctions remain a remedy

of last resort, as this Court’s cases require. As Valle’s dangerous effort to free this

order from bedrock rules of equity, constitutional law, and the federal rules implicitly

concedes, the injunction here does not come close to satisfying the prerequisites for

proper injunctive relief. It should be vacated in full.




                                           2
USCA11 Case: 22-12796       Document: 33     Date Filed: 11/23/2022   Page: 10 of 36



                                  ARGUMENT

I.    The Bankruptcy Court Provides An Adequate Remedy At Law.
      As this Court has repeatedly recognized, “an injunction under the All Writs

Act is an extraordinary remedy that ‘invests a court with a power that is essentially

equitable and, as such, not generally available to provide alternatives to other,

adequate remedies at law.’” Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1100

(11th Cir. 2004) (quoting Clinton v. Goldsmith, 526 U.S. 529, 537 (1999)); see also

Rohe v. Wells Fargo Bank, N.A., 988 F.3d 1256, 1264 (11th Cir. 2021). The All Writs

Act thus embraces in full the bedrock rule that equity will not intercede where law

provides an adequate remedy. See, e.g., Beacon Theatres, Inc. v. Westover, 359 U.S.

500, 509 (1959) (“[I]n the federal courts equity has always acted only when legal

remedies were inadequate”). That rule is “axiomatic” and fundamental. Rosen v.

Cascade Int’l, Inc., 21 F.3d 1520, 1527 (11th Cir. 1994).

      Here, the legal remedy that obviates any need for the MDL court’s injunction

is plain and simple: The bankruptcy court can apply the doctrine of res judicata and

collateral estoppel principles, as informed by the specialized law of bankruptcy, to

the proceedings before it. Even as a general matter, “[d]eciding whether and how

prior litigation has preclusive effect is usually the bailiwick of the second court,”

Smith v. Bayer Corp., 564 U.S. 299, 307 (2011), and the distinct and specialized

nature of bankruptcy proceedings only magnify the importance of that default rule.


                                         3
USCA11 Case: 22-12796        Document: 33      Date Filed: 11/23/2022    Page: 11 of 36



      This Court’s precedent makes clear that the bankruptcy court’s power to

address res judicata arguments provides an adequate remedy here. First, “if a party

will have opportunity to raise its claims in the concurrent federal proceeding sought

to be enjoined, that concurrent proceeding is deemed to provide an adequate remedy

at law.” Alabama v. U.S. Army Corps of Engineers, 424 F.3d 1117, 1132 (11th Cir.

2005). Second, “res judicata and collateral estoppel are usually more than adequate

to protect defendants against repetitious litigation.” Harrelson v. United States, 613

F.2d 114, 116 (5th Cir. 1980); see Charles A. Wright & Arthur R. Miller, 11A Fed.

Prac. & Proc. Civ. §2944 (3d ed.) (“if plaintiff can assert the claim as a defense in

some other proceeding, the alternative remedy is adequate.” (footnote omitted)).

Particularly since any preclusion issues in the bankruptcy court will arise in the

context of Debtors’ reorganization efforts, there is simply no justification for the

MDL court to superintend the bankruptcy proceedings to ensure the bankruptcy

court gives what the MDL court deems to be adequate deference to its rulings.

      Valle insists that All Writs Act injunctions are not constrained by the rule that

equitable relief is available only when adequate legal remedies are not. But this

Court’s precedent begs to differ: “An injunction under the All Writs Act invokes the

equitable power of the court; thus, as is similarly the case for traditional injunctions,

a court may not issue an injunction under the All Writs Act if adequate remedies at

law are available.” Alabama, 424 F.3d at 1132 (emphasis added). Valle tries to

                                           4
USCA11 Case: 22-12796        Document: 33     Date Filed: 11/23/2022   Page: 12 of 36



dismiss that clear language as dicta, Resp.Br.27 n.8, but he overlooks this Circuit’s

rule that “additional or alternative holdings are not dicta, but instead are as binding

as solitary holdings,” Bravo v. United States, 532 F.3d 1154, 1162 (11th Cir. 2008).

In Alabama, Alabama and Florida tried to defend an injunction by contending that it

was issued under the All Writs Act and thus did not have to meet “the requirements

[for] a traditional injunction.” 424 F.3d at 1131. This Court rejected that argument

for two reasons, one being that an All Writs Act injunction “would simply have been

inappropriate in this case” because “a court may not issue an injunction under the

All Writs Act if adequate remedies at law are available.” Id. at 1132. Accordingly,

both binding precedent and bedrock principles of equity make clear that the no-

adequate-remedy-at-law rule applies with full force to All Writs Act injunctions.

      Putting those principles into practice, this Court has vacated an All Writs Act

injunction precisely because the party seeking injunctive relief “has an adequate

remedy at law [because] it can raise the issue[] of res judicata … in the arbitration

proceeding and, if its arguments are valid, have the arbitration dismissed.” Weaver

v. Fla. Power & Light Co., 172 F.3d 771, 773 (11th Cir. 1999). Weaver also

explained that if that case had involved efforts “to enjoin an action … in another

court, the adequacy—indeed, the necessity—of the remedy at law would be clear.”

Id. at 774. Valle suggests that Weaver has no precedential force because it conflicted

with Kelly v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 985 F.2d 1067, 1068 (11th

                                          5
USCA11 Case: 22-12796       Document: 33      Date Filed: 11/23/2022    Page: 13 of 36



Cir. 1993). See Resp.Br.26-27. But Weaver explained that Kelly never addressed

whether “the requirement that the remedy at law be inadequate might prevent a

district court from granting equitable relief,” 172 F.3d at 775 n.10. “Because the

issue was not raised in Kelly,” it could not have been decided by Kelly. See id. In

all events, intervening Supreme Court precedent on arbitration law makes clear that

“neither the Kelly nor Weaver courts had the power to enjoin arbitration on res

judicata grounds because res judicata was for the arbitrator to decide in the first

instance.” Klay, 376 F.3d at 1109.

      Here, any issues of res judicata and how those principles intersect with any

determination by the bankruptcy court of the aggregate value of claims against the

Debtors’ estates are for the bankruptcy court in the first instance. While Valle casts

aspersions on the bankruptcy court’s competence to resolve those questions, see

Resp.Br.38-39, he does not and cannot dispute that the bankruptcy court is fully

empowered to do so. As the bankruptcy court “is well-equipped to protect the

proceeding’s integrity,” “the bankruptcy case is not a proceeding on which non-

appellate use of the All Writs Act by the District Court could be predicated.” Rohe,

988 F.3d at 1268.

      Valle is thus left insisting that the second court’s ability to resolve preclusion

issues cannot be an adequate legal remedy because that would defeat an “antisuit

injunction” in every instance. Resp.Br.24-25. But that is simply not true. All Writs

                                          6
USCA11 Case: 22-12796        Document: 33      Date Filed: 11/23/2022    Page: 14 of 36



Act injunctions are “extraordinary” precisely because they are reserved for the

situations where the ordinary legal remedy of leaving res judicata to the second court

is inadequate, e.g., where the enjoined litigant has repeatedly violated clear court

orders. But dispensing with this bedrock requirement of equity would make antisuit

injunctions a frequent feature of federal-court litigation, rather than a remedy of last

resort. If anything, courts should exercise even greater restraint when it comes

antisuit injunctions, as threatening a party with sanctions-backed contempt orders

just for unsuccessfully resisting a collateral-estoppel defense is an extreme measure

that should be reserved for truly extreme circumstances. Valle’s own cases thus

unsurprisingly underscore that even ordinary antisuit injunctions should be reserved

for situations involving “unique considerations” not present here. Alabama, 424

F.3d at 1132 n.22.

      For instance, in Kentucky Fried Chicken Corp. v. Diversified Packaging

Corp., 552 F.2d 601 (5th Cir. 1977), a district court in Florida had already found a

losing party and its alter egos to be in contempt of court for violating a final judgment

and “continuing to sell products bearing Kentucky Fried Chicken Corporation’s

trademarks and trade name” when the alter egos launched a new suit in Kentucky

district court alleging much the same claims they had abandoned or lost on already

in Florida. Id. at 602-03. When the Florida district court nonetheless denied

Kentucky Fried Chicken’s request for an antisuit injunction, the pre-split Fifth

                                           7
USCA11 Case: 22-12796        Document: 33      Date Filed: 11/23/2022    Page: 15 of 36



Circuit reversed, relying in part on the contempt finding and on the other parties’

concession that “[m]ost of the issues which were or could have been litigated in the

first action are being raised again in the second action.” Id. at 603.

       Valle declares that case “irreconcilable” with this one, Resp.Br.25, but the

differences are plain to see: There has been no contempt or alter-ego finding here

(or any fact-finding at all, for that matter, see infra n.4), and there is a parallel

bankruptcy proceeding that even the MDL court has conceded is beyond its reach.

As a consequence, Kentucky Fried Chicken at least involved “a typical All Writs Act

injunction that categorically forbids litigation in another forum,” Opening.Br.29, and

thus did not involve the distinct problems implicated by having one court

superintending activities in another forum in an effort to preclude a party from

“attempting to relitigate” even “related issues” or “supporting, directly or indirectly,

financially or otherwise, any collateral attack on this Court’s orders by any other

parties in any other forum.” MDL.Dkt.3389 at 8. That a readily distinguishable, 45-

year-old decision is, by Valle’s admission, the “only relevant antisuit injunction case

in which the second court was federal,” Resp.Br.25, just shows how unprecedented

the MDL court’s injunction is.1


   1
      Valle suggests in a footnote that Alabama declared antisuit injunctions
“especially” appropriate when “complex cases” or “Multidistrict Litigation” is
involved. Resp.Br.27 n.8 (citing Alabama, 424 F.3d at 1132 n.22). But the cases
Alabama cited looked nothing like this one. In one, the court issued an injunction
to protect and preserve assets in a settlement fund. See Liles v. Del Campo, 350 F.3d
                                           8
USCA11 Case: 22-12796         Document: 33      Date Filed: 11/23/2022    Page: 16 of 36



      In short, as things currently stand, if 3M and Debtors raise an issue that, in the

view of one of hundreds of thousands of plaintiffs, is insufficiently respectful of the

MDL court’s prior rulings, then 3M faces the unhappy prospect of defending that

position not just before a bankruptcy court fully versed in all the relevant filings and

bankruptcy principles, but also before an MDL court armed with contempt power.

That dynamic is entirely untenable and unjustified. Not only is the bankruptcy

court’s ability to police the filings before it an adequate legal remedy, but that reality

underscores that the injunction will have bite only and precisely where the MDL

court deems contemptuous a filing that the bankruptcy court views as fair game.

Because the bankruptcy court is best situated to police the filings before it, the

injunction is as unnecessary as it is unprecedented.

II.   The Injunction Invades The Bankruptcy Court’s Exclusive Jurisdiction.

      Relief under the All Writs Act “is limited by the Act’s supplemental

character.” Rohe, 988 F.3d at 1264. Accordingly, “[w]here a statute specifically

addresses the particular issue at hand, it is that authority, and not the All Writs Act,

that is controlling.” Pa. Bureau of Corr. v. U.S. Marshals Serv., 474 U.S. 34, 43

(1985). The “particular issue at hand” here is the extent to which the MDL court’s


742, 746-47 (8th Cir. 2003). In the other, the enjoined party had apparently
“snookered” another judge into approving a settlement agreement with a subset of
MDL plaintiffs without informing that court of pending proceedings before the MDL
court. In re Managed Care Litig., 236 F. Supp. 2d 1336, 1338, 1342 (S.D. Fla.
2002)).
                                            9
USCA11 Case: 22-12796       Document: 33     Date Filed: 11/23/2022   Page: 17 of 36



prior rulings will control in the bankruptcy court’s administration of Debtors’

Chapter 11 cases. Federal law provides a simple answer: The bankruptcy court

decides. That is both because the bankruptcy court has “exclusive jurisdiction” over

“all the property, wherever located, of the debtor,” see 28 U.S.C. §1334(e), and

because decisions about the extent to which the MDL court’s prior rulings control

will inevitably impact Debtors’ property and reorganization.

      Valle insists that invoking “[t]he bankruptcy court’s exclusive jurisdiction

over a debtor’s property is a red herring, since the injunction runs against 3M, who

is neither a debtor nor property of a debtor.” Resp.Br.36. That gets Valle nowhere.

First, the injunction plainly impacts the Funding and Support Services Agreements

between 3M and Debtors, which are Debtors’ property. See Opening.Br.33-34. By

forbidding 3M from “supporting, … financially or otherwise, a collateral attack on

this Court’s orders by … Aearo,” the injunction puts 3M to the choice of breaching

the agreements or risking contempt. See MDL.Dkt.3407 at 2-3. Indeed, the MDL

court admitted as much when it stayed (but did not vacate) that portion of its own

injunction after it belatedly recognized that it “may in fact interfere with Aearo’s

ability to act in the bankruptcy.” Id. Moreover, 3M has its own statutory right to

participate in those proceedings. See 11 U.S.C. §1109(b). The injunction thus

invades the bankruptcy court’s exclusive jurisdiction by interfering with 3M’s duty




                                        10
USCA11 Case: 22-12796        Document: 33      Date Filed: 11/23/2022   Page: 18 of 36



to fund and provide certain services to Debtors and infringing on 3M’s right to

participate in the bankruptcy proceedings of its subsidiaries.

      Valle protests that bankruptcy courts are not wholly immune from All Writs

Act injunctions. Resp.Br.34-36. But 3M had never suggested otherwise, and the

very few (and readily distinguishable) cases that employ the All Writs Act in the

bankruptcy context underscore the unprecedented and unjustified nature of this

injunction. For example, Matter of Mahurkar Double Lumen Hemodialysis Catheter

Pat. Litig., 140 B.R. 969 (N.D. Ill. 1992), was not an effort by a district court to

interfere with bankruptcy-court proceedings, but essentially the converse. There, the

bankruptcy court tried to enjoin a plaintiff from arguing in district court about the

reach of the automatic stay, and the district court used the All Writs Act to block that

order and preserve its ability to decide the scope of its own jurisdiction. In re March,

988 F.2d 498 (4th Cir. 1993), is even further afield. There, a junior lienholder, who

lost in bankruptcy litigation in the Eastern District of Virginia, turned around and

secured a TRO from a bankruptcy court in the Southern District of New York to keep

the victorious senior lienholder from proceeding with a foreclosure sale. Id. at 499.

At that point, the senior lienholder obtained an injunction from the Eastern District

of Virginia to prevent further litigation in New York, which the Fourth Circuit

affirmed. To state the obvious, that effort to prevent one bankruptcy court from

second-guessing the result of bankruptcy proceedings in another federal district is a

                                          11
USCA11 Case: 22-12796        Document: 33       Date Filed: 11/23/2022   Page: 19 of 36



far cry from a district court appointing itself the arbiter of what arguments can and

cannot be made in an ongoing bankruptcy proceeding.

      Valle is thus left suggesting that the MDL litigation is “so far advanced that it

was the virtual equivalent of a res over which the district judge required full control.”

Resp.Br.37 (quoting In re Baldwin-United Corp. (Single Premium Deferred

Annuities Ins. Litig.), 770 F.2d 328, 337 (2d Cir. 1985)). That argument only

underscores the impropriety of the injunction.           Unlike the MDL court, the

bankruptcy court has an actual res over which it requires full control: Debtors’

property. And unlike an MDL court, which exercises only limited jurisdiction over

multi-district litigation (which is decidedly not a “res”), see Opening.Br.21,

Congress gave the bankruptcy court absolute and exclusive control over that actual

res. See Tennessee Student Assistance Corp. v. Hood, 541 U.S. 440, 448 (2004) (“A

bankruptcy court’s in rem jurisdiction permits it to determine all claims that anyone,

whether named in the action or not, has to the property or thing in question. The

proceeding is one against the world.” (quotation marks and brackets omitted)). The

MDL court has no more authority to refuse to let go of its grip on the litigation than

it would have to simply ignore the automatic stay as to Aearo.

      Valle complains that the bankruptcy court’s relative expertise has little

relevance to the preclusion questions it may face. Resp.Br.38-39. But generally

speaking, the court overseeing the second litigation is best positioned to understand

                                           12
USCA11 Case: 22-12796        Document: 33      Date Filed: 11/23/2022   Page: 20 of 36



the relationship between that second litigation and the earlier litigation. That is

precisely why “[d]eciding whether and how prior litigation has preclusive effect is

usually the bailiwick of the second court.” Smith, 564 U.S. at 307. And that principle

has particular application to the bankruptcy process, which involves valuing claims

against the estate, including litigation claims that were pending before different

courts when the bankruptcy process was invoked. The bankruptcy court is ideally

situated to police the line between fair valuation and impermissible collateral attack

in that bankruptcy-specific process.

       Finally, while Valle touts the bankruptcy court’s denial of a motion for a

preliminary injunction preventing suits against 3M, Resp.Br.38, the bankruptcy

court merely denied the request for the preliminary injunction.2 Nothing in that order

“disavowed its adjudicatory authority,” Resp.Br.39, over any and all things touching

on the MDL, let alone its ability to resolve collateral-estoppel disputes. To the

contrary, the bankruptcy court is perfectly capable of applying res judicata principles

itself, and has not felt the need to outsource to the MDL court questions about what

arguments would and would not be collateral attacks. See Rohe, 988 F.3d at 1267-



   2
     On this question the bankruptcy court recognized that other courts had taken a
different approach and hence certified its decision for direct review. See
Opening.Br.15. On October 12, 2022, the Seventh Circuit granted Debtors’ petition
for direct review of the bankruptcy court’s decision. See Dkt.14 at 2, Aearo Techs.
LLC, et al. v. Those Parties Listed on Appendix A to the Complaint, et al, No. 22-
2606 (7th Cir. Oct. 12, 2022).
                                          13
USCA11 Case: 22-12796       Document: 33      Date Filed: 11/23/2022   Page: 21 of 36



68 (vacating All Writs Act injunction because “the bankruptcy court … is well-

equipped to protect the proceeding’s integrity”). The injunction is thus both an

unprecedented and an unnecessary intrusion on the bankruptcy court’s jurisdiction.

III.   The Injunction Violates 3M’s Constitutional Rights.

       An All Writs Act injunction must be “consistent with constitutional guarantees

of due process of law and access to the courts,” Cromer v. Kraft Foods N. Am., Inc.,

390 F.3d 812, 817 (4th Cir. 2004), and “[i]njunctions that abridge conduct protected

by the first amendment are constitutionally impermissible,” Universal Amusement

Co. v. Vance, 587 F.2d 159, 168 (5th Cir. 1978). Here, the injunction abridges 3M’s

rights to due process and to petition the bankruptcy court by prospectively putting

3M under the threat of contempt every time 3M or Debtors address the bankruptcy

court. See Opening.Br.31-32; BE & K Const. Co. v. N.L.R.B., 536 U.S. 516, 530

(2002) (explaining that “enjoining a lawsuit could be characterized as a prior

restraint”). All Writs Act injunctions have been vacated on First Amendment

grounds before. See, e.g., United States v. Int’l Brotherhood of Teamsters, 266 F.3d

45, 51 (2d Cir. 2001). This one merits the same fate.

       Valle accuses 3M of forfeiting its First Amendment objections by not raising

them below. Resp.Br.32. But 3M argued that even the more modest injunction

requested by Valle contravened “constitutional guarantees of due process of law and

access to courts.” MDL.Dkt.3370 at 1, 21. And the “right of access to courts for


                                         14
USCA11 Case: 22-12796       Document: 33      Date Filed: 11/23/2022   Page: 22 of 36



redress of wrongs is an aspect of the First Amendment right to petition the

government,” Borough of Duryea v. Guarnieri, 564 U.S. 379, 387 (2011). When the

MDL court nonetheless issued an injunction even more sweeping than Valle

requested, 3M reiterated its First Amendment argument in its stay request below.

See MDL.Dkt.3395 at 8. While 3M’s initial opposition sufficed to preserve a First

Amendment objection, 3M can hardly be faulted for not identifying ex ante every

constitutional flaw in an injunction that turned out to be far broader and vaguer than

even what Valle sought.

      Valle’s misguided forfeiture argument thus succeeds only in highlighting yet

another problem with the injunction. When a litigant is not given notice of the full

scope of an injunction—and hence has no adequate chance to oppose it—that

offends due process. Indeed, “notice to the defendant is imperative, particularly

when the court is considering a stiffer injunction than the one currently in force or

the one proposed in a party’s motion.” F.T.C. v. Trudeau, 579 F.3d 754, 778 (7th Cir.

2009); see also, e.g., W. Water Mgmt., Inc. v. Brown, 40 F.3d 105, 109 (5th Cir. 1994)

(vacating amended injunction where party bound by it was not given notice of its

scope); Corp. Synergies Grp., LLC v. Andrews, 775 F. App’x 54, 60-61 (3d Cir. 2019)

(similar).

      Valle next returns to his strawman, arguing that there is no constitutional right

“to relitigate issues in one’s preferred venue.” Resp.Br.32. Once again, 3M has

                                         15
USCA11 Case: 22-12796       Document: 33        Date Filed: 11/23/2022   Page: 23 of 36



never claimed otherwise. Rather, what it has explained consistently, see, e.g.,

Stay.Reply.Br.5-6, is that the MDL court’s sprawling and vague injunction reaches

far beyond making arguments barred by res judicata and collateral estoppel (which

itself is hardly something ordinarily deemed worthy of contempt). Valle largely

ignores the injunction’s sweeping language and its implications for 3M and Debtors

in the bankruptcy proceedings, but 3M has no such luxury. By outlawing even

indirect support for any party (expressly including, but not limited to, Debtors)

mounting anything that a demonstrably hyper-attuned MDL court may deem a

“collateral attack,” the injunction unquestionably would chill 3M’s ability to

coordinate or even communicate with Debtors—or anyone else, for that matter—in

the bankruptcy court and all other fora.

      Valle himself implicitly acknowledges that the injunction has that practical

effect, as the best he can offer in defense of its unprecedented constraint on

supporting the arguments of others is his self-serving assurance that “funding Aearo

as they independently plan their own strategy would not violate the injunction.”

Resp.Br.39 (emphasis added). That is a highly dubious interpretation of what the

MDL court actually ordered, which perhaps explains why Valle in the very next

breath invites this Court to “modify the language to remove this edge case” should

it disagree. Resp.Br.40. But while such a modification would certainly be an

improvement, it would not fix the constitutional problems with precluding a party

                                           16
USCA11 Case: 22-12796        Document: 33      Date Filed: 11/23/2022   Page: 24 of 36



from “supporting” even “indirectly” arguments that other parties may choose to

make “in any other fora”—especially when Valle himself continues to insist that

“[t]here has never been any daylight between 3M and Aearo.” Resp.Br.42.

      All of that readily distinguishes this case from the truly extraordinary cases to

which Valle tries to analogize. Resp.Br.32-33. For example, Riccard v. Prudential

Insurance Co., 307 F.3d 1277 (11th Cir. 2002), is a non-bankruptcy case where the

enjoined party had a “near-obsession regarding his former employer” and engaged

in “abusive and vexatious litigation” including “four lawsuits” plus multiple

complaints in “non-judicial forums.” Id. at 1282, 1295 & n.15, 1298. In Battle v.

Liberty National Life Insurance Co., 877 F.2d 877 (11th Cir. 1989), after a federal

court entered a final judgment settling class-actions related to Alabama funeral

homes, the plaintiffs attempted to bring class-action suits in state court to relitigate

the same issues. Id. at 879-81. And Scardelletti v. Debarr, 265 F.3d 195 (4th Cir.

2001), rev’d on other grounds sub nom. Devlin v. Scardelletti, 536 U.S. 1 (2002),

addressed one class member’s late-breaking effort to challenge a class-wide

settlement, id. at 198-202. Here, by contrast, there has never been any global

settlement, 3M did not initiate the second proceeding, and 3M has not relitigated or

even “attempt[ed]” to relitigate anything, let alone engaged in a pattern of “abusive

and vexatious litigation” across multiple “non-judicial forums.”




                                          17
USCA11 Case: 22-12796        Document: 33      Date Filed: 11/23/2022   Page: 25 of 36



      In short, it is simply disingenuous to argue that 3M is claiming a right “to

lodge claims in whatever venue [it] choose[s], using whatever arguments [it]

wish[es].” Resp.Br.34. 3M just wishes to be able to fully participate in the

bankruptcy proceedings, and fulfill its contractual obligations to Debtors under the

Funding and Support Services Agreements, without the looming threat of contempt

any time it says anything negative about the MDL court’s rulings or seeks to value

claims differently than the MDL court prefers.           There is nothing remotely

extraordinary about that; to the contrary, those are rights at the Constitution’s very

core. See, e.g., Lozman v. City of Riviera Beach, 138 S.Ct. 1945, 1954 (2018)

(recognizing “the right to petition as one of the most precious of the liberties

safeguarded by the Bill of Rights.”) (quotation marks omitted). The Constitution

does not tolerate the kind of interference with the rights to free speech and petition

that the MDL court’s unprecedented injunction works. Neither should this Court.

IV.   The Injunction Violates The Automatic Stay.
      As 3M explained in its opening brief, Opening.Br.32-36, the injunction

violates the automatic stay because it chills 3M in fulfilling its contractual duties to

Debtors under the Funding and Support Services Agreements, which are bankruptcy

estate property. See In re Windstream Holdings, Inc., 627 B.R. 32, 43 (Bankr.

S.D.N.Y. 2021). Valle declares that “one strains to see how that could be true” and

labels “fanciful” the notion that positions Debtors take with 3M’s financial support


                                          18
USCA11 Case: 22-12796        Document: 33      Date Filed: 11/23/2022   Page: 26 of 36



would be understood as 3M “supporting … financially” those positions. Resp.Br.39.

But even the MDL court begged to differ, as it partially stayed (albeit while declining

to modify) its injunction precisely because it recognized that placing 3M under threat

of contempt for supporting Debtors “may in fact interfere with Aearo’s ability to act

in the bankruptcy court in light of the funding agreement between 3M and Aearo.”

MDL.Dkt.3407 at 2-3. Indeed, Valle himself asserts that 3M would stay on the right

side of the contempt line only if it limited itself to “funding Aearo as they

independently plan their own strategy.”        Resp.Br.39 (emphasis added).      Even

assuming that were consistent with the plain terms of the injunction, he makes no

effort to explain how that would be consistent with the normal ability of a parent to

coordinate with its subsidiaries or how it would preserve the full value of the

Funding and Support Services Agreements.

       Instead, he changes the subject, emphasizing that the bankruptcy court

determined “that the automatic stay does not apply to 3M” and argues that “3M

cannot relitigate that defeat to this Court.” Resp.Br.40. But whether the automatic

stay applies to litigation against 3M is beside the point. 3 The problem is that

restricting 3M’s full participation in the bankruptcy court will “have an adverse

impact upon the property of [Debtors’] estate.” In re Nat’l Century Fin. Enters.,



   3
     As noted above, the bankruptcy court certified its decision for direct review and
the Seventh Circuit has since granted Debtors’ petition for direct review.
                                          19
USCA11 Case: 22-12796        Document: 33      Date Filed: 11/23/2022   Page: 27 of 36



Inc., 423 F.3d 567, 578 (6th Cir. 2005). Valle has yet to explain how muzzling 3M

could possibly not have that “adverse impact,” and it is far too late in the day to deny

the risk that Debtors’ words will be held against 3M. After all, it was the MDL

court’s willingness to hold Debtors’ statements against 3M that provided the

foundation for the injunction, Opening.Br.12, and Valle himself continues to insist

that “[t]here has never been any daylight between 3M and Aearo,” Resp.Br.42.

      Congress designed the automatic stay “to allow the bankruptcy court to

centralize all disputes concerning property of the debtor’s estate so that

reorganization can proceed efficiently, unimpeded by uncoordinated proceedings in

other arenas.” S.E.C. v. Brennan, 230 F.3d 65, 70 (2d Cir. 2000). Even more so than

“uncoordinated proceedings,” the injunction’s direct interference in the bankruptcy

court runs contrary to that design. Allowing any portion of the injunction to stand

will “set[] courts in different districts against one another” and thus “completely

frustrate the scheme of courts created by Congress.” Gilchrist v. Gen. Elec. Cap.

Corp., 262 F.3d 295, 305 (4th Cir. 2001).

V.    The Injunction Violates Federal Rules of Civil Procedure 52 and 65.

      Valle cannot credibly claim that the MDL court complied with either Rule 52

or Rule 65. Instead, he argues that All Writs Act injunctions are as immune from the

procedural requirements of the Federal Rules as they are (in his view) from bedrock

rules of equity. He attributes this remarkable position to this Court’s decision in


                                          20
USCA11 Case: 22-12796        Document: 33      Date Filed: 11/23/2022   Page: 28 of 36



Klay. See Resp.Br.40-41. Klay held no such thing. To the contrary, the Court there

chided the plaintiffs for making the same mistake Valle makes here—namely,

conflating the traditional four-factor test governing injunctive relief with the

procedural requirements of Rule 65. See 376 F.3d at 1097 & n.6 (faulting plaintiffs

for referring to the “requirements for a traditional injunction” “as the ‘Rule 65

factors,’ despite the fact that Rule 65 does not mention them”). Wholly apart from

the traditional four-factor test, Rule 65 commands: “Every order granting an

injunction … must: (A) state the reasons why it issued; (B) state its terms

specifically; and (C) describe in reasonable detail—and not by referring to the

complaint or other document—the act or acts restrained or required.” Fed. R. Civ.

P. 65(d). And underscoring that “every” means neither most nor nearly all, this

Circuit’s precedent says that “the All Writs Act does not free a district court from the

restraints of Rule 65.” Fla. Med. Ass’n, Inc. v. U. S. Dep’t of Health, Ed. & Welfare,

601 F.2d 199, 202 (5th Cir. 1979); Bonner v. City of Prichard, 661 F.2d 1206, 1207

(11th Cir. 1981); see also Scardelletti v. Debarr, 265 F.3d 195, 211-12 (4th Cir. 2001)

(relying on Florida Medical Association to conclude that “Rule 65 applies to All

Writs Act injunctions”). In short, the All Writs Act is no excuse to sidestep




                                          21
USCA11 Case: 22-12796       Document: 33      Date Filed: 11/23/2022   Page: 29 of 36



requirements the Federal Rules impose on “[e]very order granting an injunction.”

Fed. R. Civ. P. 65(d).4

       The Supreme Court’s decisions reinforce that conclusion.         International

Longshoremen’s Association, Local 1291 v. Philadelphia Marine Trade Association,

389 U.S. 64 (1967), for example, explains that “an equitable decree compelling

obedience under the threat of contempt,” “was therefore an ‘order granting an

injunction’ within the meaning of Rule 65(d).” Id. at 75; see Wright & Miller, supra

§2955 (“[T]he term ‘injunction’ in Rule 65(d) is not to be read narrowly but includes

all equitable decrees compelling obedience under the threat of contempt.”). The

injunction here is undeniably “an equitable decree compelling obedience under the

threat of contempt,” so Rule 65 applies. And “the specificity provisions of Rule

65(d) are no mere technical requirements.” Schmidt v. Lessard, 414 U.S. 473, 476

(1974). Precisely because “an injunctive order prohibits conduct under threat of

judicial punishment, basic fairness requires that those enjoined receive explicit

notice of precisely what conduct is outlawed.” Id. The injunction here gives 3M no

such guidance. Determining, for instance, what constitutes a sufficiently “related”

issue to trigger contempt is no mean feat “since, as many a curbstone philosopher




   4
    Valle offers no authority other than Klay in support of his claim that All Writs
Act injunctions need not comply with Rule 52 either, and Klay provides no more
support for that proposition than for his effort to free the MDL court of Rule 65.
                                         22
USCA11 Case: 22-12796        Document: 33      Date Filed: 11/23/2022   Page: 30 of 36



has observed, everything is related to everything else.” Ca. Div. of Lab. Standards

Enforcement v. Dillingham Constr., N.A., Inc., 519 U.S. 316, 335 (1997) (Scalia, J.,

concurring). The precise contours of indirect support are equally elusive. In short,

the injunction gives 3M precious little guidance on what conduct is now verboten.

See Opening.Br.36-39.

       Valle insists that the injunction is “clear enough.” Resp.Br.41.5 But that claim

is belied by the principal authority he invokes. While he maintains that the

injunction “is essentially indistinguishable from the” injunction that “was upheld”

in Wood v. Santa Barbara Chamber of Com., Inc., 705 F.2d 1515 (9th Cir. 1983),

Resp.Br.41, even a cursory reading of Wood thoroughly refutes that claim. For one

thing, the injunction there said not a word about “supporting” the arguments of

others, let alone about supporting them “directly or indirectly, financially or

otherwise.” Moreover, while the injunction did forbid “attempting to relitigate,” it

specifically identified what qualified as such an attempt. 705 F.2d at 1523 n.6. And

even that proved insufficient for the Ninth Circuit, which found it necessary to

“modify[]” the district court’s “more far-reaching language” so that the ultimate

injunction prohibited only the clearly defined acts of “commencing or filing, in any



   5
     Valle does not even try to explain how the district court complied with the fact-
finding requirement of Rule 52. That omission is conspicuous but unsurprising; the
MDL court’s order contains only conclusory statements, not findings of fact. See
Stay.Reply.Br.7; Opening.Br.37-38.
                                          23
USCA11 Case: 22-12796        Document: 33       Date Filed: 11/23/2022   Page: 31 of 36



Federal Court, any future action, complaint or cause of action seeking adjudication

of the factual and legal issues adjudicated and dismissed with prejudice in” the

original litigation. Id. at 1523 n.7.

      Indeed, the MDL court’s injunction is so vague and sweeping that it has even

been invoked by litigants to try to preclude 3M from raising defenses in state court.

Valle’s only response is to summarily declare that “the injunction applies only to

relitigating matters in bankruptcy.” Resp.Br.30. But while he twice quotes portions

of the injunction that refer to the bankruptcy court to support his claim that “the

injunction plainly does not apply” to Minnesota state court, Resp.Br.29, he simply

ignores the portion that forbids 3M from supporting “any collateral attack … in any

other forum,” MDL.Dkt.3389 at 8, which not surprisingly is the language the

Minnesota plaintiffs actually invoked, Supp.Br. Ex. A at 18. Unfortunately for Valle,

“any,” like “every,” is a term of breadth that cannot be read to exclude Minnesota

courts or All Writs Act injunctions and cannot simply be ignored.

      It is little surprise, then, that Valle ultimately invites this Court to rewrite the

injunction. See Resp.Br.40. But as the MDL court itself implicitly acknowledged,

see MDL.Dkt.3407 at 3, whittling the injunction down to what the mine-run antisuit

injunction prohibits—namely, initiating new litigation to collaterally attack a final

judgment—would be inapposite here and defeat what the court set out to accomplish.

Even the MDL court recognized that it could not simply shut down the Debtors’

                                           24
USCA11 Case: 22-12796        Document: 33      Date Filed: 11/23/2022   Page: 32 of 36



bankruptcy proceedings under the All Writs Act or anything else. But its vague

injunction against 3M supporting the efforts of others or casting aspersions on the

MDL court’s ruling is no more lawful. The reality is that there is no lawful way to

clearly and concisely accomplish what the MDL court envisions.

VI.   Equitable Considerations Do Not Support The Injunction.
      With respect to general equitable considerations, Valle’s principal contention

is that if 3M just does not relitigate any settled issues, “the injunction causes it no

harm at all.” Resp.Br.43. That argument ignores both the impact of the injunction

on Debtors, which even the MDL court itself acknowledged, and the very real

prospect that the MDL court could perceive arguments that the bankruptcy court

views as perfectly fair as contemptuous collateral attacks on its rulings. The MDL

court has proven itself hyper-attuned to criticism of its rulings both in the

proceedings culminating in this injunction and in other orders.             See, e.g.,

MDL.Dkt.3386 at 7-8 (accusing 3M of “naked duplicity” and stating that it was

“deeply concerned” over 3M’s “sudden” actions); MDL.Dkt.3571. 3M and Debtors

both believe that erroneous rulings by the MDL court have inflated the value of

claims against the Debtors. There is simply no way for Debtors to effectively

prosecute their Chapter 11 cases or 3M to meaningfully participate in such

proceedings without risking being haled before the MDL court. And Valle cannot

deny that the deprivation of constitutional rights, especially First Amendment rights,


                                          25
USCA11 Case: 22-12796         Document: 33     Date Filed: 11/23/2022   Page: 33 of 36



“constitutes an irreparable injury.” NetChoice, LLC v. Att’y Gen., Fla., 34 F.4th

1196, 1231 (11th Cir. 2022).

      To say that 3M has nothing to fear if its arguments are faithful to res judicata

principles overstates the clarity of those principles and ignores that the injunction’s

practical effect is greatest where the bankruptcy court and MDL court disagree on

the propriety of a filing or argument before the bankruptcy court. It is precisely those

circumstances where the threat to bankruptcy court’s exclusive jurisdiction, the

rights of 3M and Debtors, and the public interest is greatest. And the harm is not

limited to those circumstances, as underscored by the injunction’s extension to

filings in any other forum.

                                     *     *      *

      This unprecedented and unnecessary injunction suffers from a host of

infirmities, so much so that the MDL court felt compelled to half-stay it pending

appeal. As briefing has now made clear, the whole is even worse than the sum of its

parts. This Court was therefore eminently correct to stay the entire injunction

pending appeal, and it should now finish the job and vacate the injunction in full.




                                          26
USCA11 Case: 22-12796     Document: 33     Date Filed: 11/23/2022    Page: 34 of 36



                               CONCLUSION

     This Court should reverse the order below and vacate the injunction.

                                           Respectfully submitted,

                                           s/Paul D. Clement
                                           PAUL D. CLEMENT
                                            Counsel of Record
                                           ERIN E. MURPHY
                                           CLEMENT & MURPHY, PLLC
                                           706 Duke Street
                                           Alexandria, VA 22314
                                           (202) 742-8900
                                           paul.clement@clementmurphy.com
                                           Counsel for Defendant-Appellant
                                           3M Company
November 23, 2022




                                      27
USCA11 Case: 22-12796       Document: 33    Date Filed: 11/23/2022   Page: 35 of 36



                      CERTIFICATE OF COMPLIANCE

      1. This brief complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A) because it contains 6,409 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(f) and 11th Cir. R. 32-4.

      2. This brief complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6), because it has

been prepared in a proportionally spaced typeface using Microsoft Word 2016 in 14-

point Times New Roman type.

November 23, 2022

                                             s/Paul D. Clement
                                             Paul D. Clement
USCA11 Case: 22-12796       Document: 33     Date Filed: 11/23/2022   Page: 36 of 36



                         CERTIFICATE OF SERVICE

      I hereby certify that on November 23, 2022, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Eleventh

Circuit by using the CM/ECF system. I certify that all participants in this case are

registered CM/ECF users and that service will be accomplished by the CM/ECF

system.

                                             s/Paul D. Clement
                                             Paul D. Clement
